897 F.2d 1168
    283 U.S.App.D.C. 146
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.George E. CARTER, Appellant,v.Hallem H. WILLIAMS, Jr., et al.
    No. 89-7130.
    United States Court of Appeals, District of Columbia Circuit.
    March 13, 1990.
    
      Before RUTH B. GINSBURG, STEPHEN F. WILLIAMS and SENTELLE, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This case was considered on the record on appeal from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for a published opinion.  See D.C.Cir.Rule 14(c).  It is
    
    
      2
      ORDERED AND ADJUDGED that the district court's order, filed May 3, 1989, be affirmed.  Appellant has failed to demonstrate that he suffered any actual, compensable injury as a result of being denied access to law library materials.  In the absence of such proof, an award of nominal damages alone was proper.   See Memphis Community School District v. Strachura, 477 U.S. 299, 308-310 (1985);  Carey v. Piphus, 435 U.S. 247, 257-65 (1978).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 15.
    
    